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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA
         v.
                                                        Criminal Action No. 21-730 (CKK)
 DANEAN MACANDREW,
              Defendant


                                 MEMORANDUM OPINION
                                   (December 27, 2022)

       This criminal case is one of nearly one thousand arising from the insurrection at the

United States Capitol on January 6, 2021. For her actions at the Capitol on January 6, Defendant

Danean Macandrew is charged by information with four misdemeanors. Before the Court is

Defendant’s [31] Motion to Dismiss the Information for Multiplicity, or to Compel the

Government to Elect Among Multiplicitous [sic] Counts. Defendant argues that each of these

charges are multiplicative, i.e., that to be convicted of more than one of them would violate the

Double Jeopardy Clause. Because each count is sufficiently distinct from the other, Defendant’s

challenge fails.

       Pursuant to Federal Rule of Criminal Procedure 12(b)(3)(B)(ii), a Defendant may, before

trial, move to dismiss a charging instrument in whole or in part based on the instrument

“charging the same offense in more than one count (multiplicity).” Any such effort faces a

particularly high bar. “A single act may be an offense against two statutes; and if each statute

requires proof of an additional fact which the other does not, an acquittal or conviction under

either statute does not exempt the defendant from prosecution and punishment under the other.”

Blockburger v. United States, 284 U.S. 299, 304 (1932). As another court of this jurisdiction has

concluded, there is no such problem here. United States v. Ballenger, Crim. A. No. 21-719


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(JEB), 2022 WL 14807767, at *2 (D.D.C. Oct. 26, 2022).

           To illustrate how each charge contains elements distinct from the others, consider the

following chart of the offenses charged in the Superseding Information:

          Counts               Proscribed Conduct      Mental State                Additional Facts
                                                         Required                      Required
    1. 18 U.S.C. §            Entering or remaining Knowingly                 To do so in a “restricted
    1752(a)(1)                without lawful                                  building” or area, i.e., an
                              authority                                       area that is “posted,
                                                                              cordoned off, or
                                                                              otherwise restricted” and
                                                                              is (1) the White House
                                                                              grounds or buildings or
                                                                              Vice President’s
                                                                              residence or grounds; (2)
                                                                              an area where a person
                                                                              protected by the Secret
                                                                              Service is or will be
                                                                              temporarily visiting; or
                                                                              (3) an area restricted in
                                                                              conjunction with an
                                                                              event designated as a
                                                                              special event of national
                                                                              significance 1
    2. 18 U.S.C. §            Engaging in            Knowingly, and with      To do so in or near a
    1752(a)(2)                disorderly or          the specific intent to   restricted building or area
                              disruptive conduct     impede or disrupt        The conduct in fact
                                                     Government business      impedes or disrupts
                                                                              Government business
    3. 40 U.S.C. §            Uttering loud,         Willfully, knowingly,    To do so in any Capitol
    5104(e)(2)(D)             threatening, or        and with the specific    building or on Capitol
                              abusive language, or   intent to impede,        grounds
                              engaging in            disrupt, or disturb
                              disorderly or          Congressional
                              disruptive conduct     proceedings
    4. 40 U.S.C. §            Parading,              Willfully and            To do so in any Capitol
    5104(e)(2)(G)             demonstrating or       knowingly                building.
                              picketing

           The differences between these charges are myriad, but the Court will note a few. Only




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    18 U.S.C. § 1752(c)(1).

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Count 4 criminalizes parading, demonstrating, or picketing, so it is distinct from the rest. Accord

Ballenger, 2022 WL 14807767, at *2. Counts 3 and 4 are distinct from Counts 1 and 2 because

they require a showing of willfulness. Counts 3 and 4 also differ from Counts 1 and 2 because

the latter criminalize conduct in a Capitol building or area no matter whether it is also a

“restricted area” when the prohibited conduct occurred. Count 2 is distinct from Count 1

because it requires a showing of specific intent where Count 1 does not, and because Count 2

criminalizes different conduct from Count 1. Accord id. As such, no one count in the

Superseding Information is multiplicative of the other.

       Therefore, the Court shall DENY Defendant’s [31] Motion to Dismiss the Information

for Multiplicity, or to Compel the Government to Elect Among Multiplicitous [sic] Counts. A

separate order accompanies this Memorandum Opinion.



Dated: December 27, 2022                                   /s/
                                                      COLLEEN KOLLAR-KOTELLY
                                                      United States District Judge




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